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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT

JOSEPH VELLALI, NANCY S. LOWERS,
JAN M. TASCHNER, AND JAMES
MANCINI, individually and as representatives
of a class of participants and beneficiaries on
behalf of the Yale University Retirement
Account Plan,

                                Plaintiffs,             No. 3:16-cv-01345-AWT
 v.
                                                        Hon. Alvin W. Thompson
YALE UNIVERSITY, MICHAEL A. PEEL,
AND THE RETIREMENT PLAN
FIDUCIARY COMMITTEE,

                                Defendants.

                        DECLARATION OF JEROME J. SCHLICHTER

      I am the founder and managing partner of the law firm of Schlichter, Bogard & Denton,

LLP, counsel for Plaintiffs in this case. I am familiar with the facts set forth below and able to

testify to them.

      1.   I received my Bachelor’s degree in Business Administration from the University of

Illinois in 1969, with honors and was a James Scholar. I received my Juris Doctorate from the

University of California at Los Angeles (UCLA) Law School in 1972, where I was an Associate

Editor of UCLA Law Review. I am licensed to practice law in the states of Illinois, Missouri, and

California and am admitted to practice before the Supreme Court of the United States, the Third,

Fifth, Seventh, Eighth and Ninth Circuit Courts of Appeals and numerous U.S. District Courts. I

have also been an Adjunct Professor teaching trial practice at Washington University School of

Law, and repeatedly selected by my peers for the list of The Best Lawyers in America.

      2.   Through over 40 years of practice, I have handled, on behalf of plaintiffs, substantial

personal injury, civil rights class actions, mass torts and class action fiduciary breach litigation
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under the Employee Retirement Income Security Act (ERISA), on behalf of participants in large

401(k) plans. In 2007, I was ranked number 3 in a list of the 100 most influential people

nationally in the 401(k) industry in the industry publication 401(k) Wire. I have also been named

on the list numerous times in subsequent years. I have also spoken on ERISA litigation breach of

fiduciary duty claims at national ERISA seminars as well as other national bar seminars.

    3.   Beginning in 2005, my firm and I began thoroughly investigating industry practices in

large 401(k) plans, and identifying potential claims on behalf of employees and retirees who rely

on such plans for their retirement security.

    4.   In September 2006, my firm began pursuing class actions on behalf of 401(k)

participants alleging breaches of fiduciary duties under ERISA based on excessive fees, conflicts

of interests and prohibited transactions. At the time these cases were filed, similar cases had not

been pursued either by other private lawyers or the United States Department of Labor, which is

responsible for enforcing ERISA.

    5.   Since 2006, my firm has filed over twenty ERISA class actions alleging excessive fees

in large 401(k) and 403(b) plans. These cases have been filed in judicial districts throughout the

United States, including districts within the First, Second, Third, Fourth, Seventh, Eighth, Ninth,

Tenth, and Eleventh Circuits.

    6.   In each of the above cases in which the issue of class counsel was decided, the court

appointed my firm as class counsel—a total of 29 cases, including the following: Tracey, et al. v.

MIT, et al., No. 16-11620, 2018 WL 5114167 (Mass. Oct. 19, 2018); Henderson, et al. v. Emory

University, et al., No. 16-2920, 2018 WL 6332343 (N.D. Ga. Sept. 13, 2018); Bell, et al. v.

Pension Committee of ATH Holding Company, et al., No. 15-2062, 2018 WL 4385025 (S.D. Ind.

Sept. 14, 2018); Cassell, et al. v. Vanderbilt, et al., No. 16-2086, 2018 WL 5264640 (M.D. Tenn.



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Oct. 23, 2018); Cates, et al. v. The Trustees of Columbia University in the City of New York, et

al, No. 16-6524, Doc. 210 (S.D.N.Y. Nov. 8, 2018); Sacerdote v. New York University, No. 16-

6284, 2018 WL 840364, *4 (S.D.N.Y. Feb. 13, 2018); Clark v. Duke Univ., No. 16-1044, 2018

U.S.Dist.LEXIS 62532 (M.D.N.C. Apr. 13, 2018); Ramos. v. Banner Health, No. 15-2556, Doc.

296 (D. Colo. Mar. 23, 2018); Troudt v. Oracle Corp., No. 16-175, 325 F.R.D. 373 (D. Colo.

Jan. 30, 2018); Pledger v. Reliance Trust, No. 15-4444, Doc. 101 (N.D. Ga. Nov. 7, 2017);

Marshall v. Northrop Grumman Corp., No. 16-6794, Doc. 130 (C.D. Cal. Nov. 3, 2017); Sims v.

BB&T Corp., No. 15-732, 2017 WL 3730552, *5 (M.D.N.C. Aug. 28, 2017); Gordan v.

Massachusetts Mutual Life Insurance Co., No. 13-30184, Doc. 112 (D. Mass. June 22, 2016);

Kruger v. Novant Health, No. 14-208, Doc. 53 (M.D.N.C. May 17, 2016); Krueger v. Ameriprise

Financial, Inc., 304. F.R.D. 559 (D. Minn. 2014); Abbott v. Lockheed Martin Corp., 286 F.R.D.

388, 405 (S.D. Ill. 2012), and Abbott, No. 06-701, Doc. 403 at 3–6, 12 (S.D. Ill. Aug. 1, 2014);

Beesley v. Int’l Paper Co., No. 06-703, 2008 WL 4450319 (S.D. Ill. Sept. 30, 2008), and 2013

WL 1271727 (S.D. Ill. Oct. 10, 2013); Nolte v. Cigna Corp., No. 07-2046, 2013 WL 3586645,

*2 (C.D. Ill. July 3, 2013); Spano v. Boeing Co., 294 F.R.D. 114 (S.D. Ill. 2013); George v. Kraft

Foods Global Inc., No. 08-3799, 2012 U.S.Dist.LEXIS 26536, *6 (N.D. Ill. Feb. 29,

2012)(George II); In re Northrop Grumman Corp. ERISA Litig, No. 06-6213, 2011 WL

3505264, *18 (C.D. Cal. Mar. 29, 2011); Will v. General Dynamics Corp., No. 06-698, Doc. 243

(S.D. Ill. Aug. 9, 2010); Martin v. Caterpillar Inc., No. 07-1009, Doc. 173 (C.D. Ill. April 21,

2010); Tibble v. Edison Int’l, No. 07-5359, 2009 WL 6764541, *10 (C.D. Cal. June 30, 2009);

George v. Kraft Foods Global Inc., 251 F.R.D. 338, 351–52 (N.D. Ill. 2008)(George I); Taylor v.

United Tech. Corp., No. 06-1494, 2008 U.S.Dist.LEXIS 43655, *15 (D. Conn. June 3, 2008);

Kanawi v. Bechtel Corp., 254 F.R.D. 102, 111–12 (N.D. Cal. 2008); Tussey v. ABB Inc., No. 06-



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4305, 2007 WL 4289694, *8 (W.D. Mo. Dec. 3, 2007); Loomis v. Exelon Corp., No. 06-4900,

2007 WL 2060799, *4 (N.D. Ill. June 26, 2007).

    7.   As of this time, very few law firms nationally have brought similar cases, and no other

law firm has brought the number of cases our firm has brought, or devoted the level of resources

to pursuing similar cases. Schlichter, Bogard & Denton litigated the first full trial of a 401(k)

excessive fee case, resulting in a judgment of $36.9 million for the plaintiffs that was affirmed in

part by the Eighth Circuit. Tussey v. ABB, Inc., No. 06-4305, 2012 U.S.Dist.LEXIS 45240 (W.D.

Mo. Mar. 31, 2012), aff’d in part, rev’d in part, 746 F.3d 327 (8th Cir. 2014). As the court noted

in Tussey, “[i]t is well established that complex ERISA litigation involves a national standard

and specialized expertise. Plaintiffs’ attorneys are clearly experts in ERISA litigation.” Tussey v.

ABB, Inc., No. 06-4305, 2012 U.S.Dist.LEXIS 157428, *9–10 (W.D. Mo. Nov. 2, 2012)

(citations omitted).

    8.   These cases require a commitment up front to tremendous time and resources. For

example, in the Tussey case Plaintiffs’ counsel has advanced over $2 million in out-of-pocket

costs, most of which are expert witness fees, and has been carrying those advanced costs without

reimbursement since they were incurred.

    9.   Schlichter, Bogard & Denton has obtained monetary settlements on behalf of 401(k)

plan participants in numerous cases, as well as substantial and valuable affirmative relief. These

settlements include: Abbott v. Lockheed Martin Corp., No. 06-701 (S.D. Ill.); Spano v. Boeing

Co., No. 06-743 (S.D. Ill.); Gordan v. Mass. Mutual Life Insurance Co., No. 13-30184 (D.

Mass.); Kruger v. Novant Health, Inc., No. 14-208 (M.D.N.C); Krueger v. Ameriprise Financial,

Inc., No. 11-2781 (D. Minn.); Kanawi. v. Bechtel Corp., No. 06-5566 (N.D. Cal.); Beesley v.

Int’l Paper Co., No. 06-703 (S.D. Ill.); Will v. General Dynamics Corp., No. 06-698 (S.D. Ill.);



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Nolte v. Cigna Corp., No. 07-2046 (C.D. Ill); George v. Kraft Foods Global, Inc., Nos. 07-1713

& 08-3799 (N.D. Ill.); and Martin v. Caterpillar, Inc., No. 07-1009 (C.D. Ill.). No other firm can

match Schlichter, Bogard & Denton’s track record of success in ERISA excessive fee litigation.

    10. In many of these cases, settlements were reached only after years of litigation—after

Schlichter, Bogard & Denton conducted extensive discovery, defeated motions to dismiss and for

summary judgment, obtained class certification, and, in some, handled one or more interlocutory

appeals. In Spano v. Boeing Co., No. 06-743 (S.D. Ill.), filed September 28, 2006, a provisional

settlement was reached on the day that trial was scheduled to commence, August 26, 2015, after

nine years of litigation, including an interlocutory appeal to the Seventh Circuit, 633 F.3d 574.

Similarly, in Abbott v. Lockheed Martin Corp., No. 06-701 (S.D. Ill.), filed September 11, 2006,

the parties reached a settlement on December 14, 2014, the day before trial, after over eight years

of litigation and two interlocutory class certification appeals, including Schlichter, Bogard &

Denton successfully obtaining reversal of a denial of class certification, 725 F.3d 803 (7th Cir.

2013), and a petition for writ of certiorari that the firm successfully opposed.

    11. Several cases that Schlichter, Bogard & Denton filed in 2006 or 2007 were litigated for

a decade or longer, and the firm devoted all necessary resources to prosecuting these claims until

their conclusion.

    12. In In re Northrop Grumman Corp. ERISA Litig, No. 06-6213 (C.D. Cal.), which was

filed in 2006, Schlichter, Bogard & Denton successfully pursued an interlocutory appeal of

denial of class certification, and obtained class certification on remand from the Ninth Circuit.

Grabek v. Northrop Grumman Corp., 346 Fed. Appx. 151, 153 (9th Cir. 2009); In re Northrop

Grumman Corp. ERISA Litig, No. 06-6213, Doc. 421, 2011 U.S.Dist.LEXIS 94451 (C.D. Cal.

Mar. 29, 2011). After trial commenced in March 2017, the parties agreed to a settlement



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including $16.75 million in monetary relief, which the Court has approved. Doc. 772 at 2:24–

3:7, 4:1–7 [ECF pages]; Doc. 804.

    13. In Tibble v. Edison Int’l, No. 07-5359 (C.D. Cal.), after partial summary judgment for

the defendants and a partial judgment for the plaintiffs at trial, the parties cross-appealed to the

Ninth Circuit, which affirmed the district court in all respects, 729 F.3d 1110 (9th Cir. 2013).

Schlichter, Bogard & Denton successfully petitioned the Supreme Court for a writ of certiorari

on the issue of whether ERISA’s six-year statute of limitations bars a claim that the fiduciary

breached its ongoing duty to remove imprudent investments more than six years after the funds

were first included in the Plan. This was the first 401(k) excessive fee case the Supreme Court

ever took. Numerous amici supported the plaintiffs, including the United States Solicitor

General, AARP, and the Pension Rights Center. The Supreme Court ruled in favor of plaintiffs

unanimously 9–0, and remanded for further proceedings. Tibble v. Edison Int’l, 135 S. Ct. 1823,

1829 (2015). On December 16, 2016, the Ninth Circuit, sitting en banc, vacated the district

court’s statute of limitations ruling as to funds added to the Plan before 2001 and remanded for

trial. Tibble v. Edison Int’l, 843 F.3d 1187 (9th Cir. 2016). On August 16, 2017, the district court

entered a second judgment for the plaintiffs. Tibble v. Edison Int'l, No. 07-5359, 2017 U.S. Dist.

LEXIS 130806 (C.D. Cal. Aug. 16, 2017).

    14. In Tussey v. ABB, Inc., No. 06-4305, following the month long trial in 2010 and the

district court’s judgment, 2012 U.S.Dist.LEXIS 45240 (W.D. Mo. Mar. 31, 2012), the Eighth

Circuit affirmed in part, reversed in part, and remanded for further proceedings on one of the

plaintiff’s claims, 746 F.3d 327 (8th Cir. 2014). On March 9, 2017, the plaintiffs prevailed on a

second appeal to the Eighth Circuit, which affirmed the district court’s finding that the fiduciary




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breached its duties and remanded for the district court to determine an award of damages. Tussey

v. ABB, Inc., 850 F.3d 951 (8th Cir. 2017).

    15. In short, Schlichter, Bogard & Denton has demonstrated its commitment to devoting all

necessary resources to pursuing ERISA fiduciary breach claims on behalf of 401(k) participants,

and will do the same if appointed class counsel in this case.

    16. Based on handling numerous ERISA excessive fee class actions, Schlichter, Bogard &

Denton has extensive experience handling the complex nuances present in all phases of these

claims, including the pleading stage, discovery, class certification, dispositive motions, trial, and

appeals.

    17. Prior to filing this action, the firm conducted an extensive investigation into potential

claims on behalf of the Plan’s participants in the class. Schlichter, Bogard and Denton obtained

documents from public sources, such as Forms 5500 and communications to Plan participants.

The firm thoroughly analyzed factual issues pertaining to the participants’ potential claims,

including a review of the Plan’s investment options, performance analysis, calculations of fees

paid to service providers, comparisons of the Plan’s fees to market rates for the same services,

comparison of the Plan’s fees and investments to other large 401(k) plans, and determining

estimates of losses to the Plan.

    18. Schlichter, Bogard and Denton also extensively researched anticipated litigation issues

and the status of evolving issues in ERISA and class action law in the Second Circuit and

nationally.

    19. The firm’s expertise in successfully handling similar cases has been noted by numerous

federal judges. On November 3, 2016, Judge Michael Ponsor of the United States District Court

for the District of Massachusetts found that by securing a $30.9 million settlement, Schlichter,



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Bogard & Denton had achieved an “outstanding result for the class,” and “demonstrated

extraordinary resourcefulness, skill, efficiency and determination.” Gordan v. Mass Mutual Life

Ins., Co., No. 14-30184, Doc. 144 at 5 (D. Mass. Nov. 3, 2016).

    20. In Beesley v. International Paper, a similar ERISA excessive fee case that resulted in a

settlement of $30 million plus substantial affirmative relief following seven years of litigation,

Judge David Herndon observed: “Litigating this case against formidable defendants and their

sophisticated attorneys required Class Counsel to demonstrate extraordinary skill and

determination. Schlichter, Bogard & Denton and lead attorney Jerome Schlichter’s diligence and

perseverance, while risking vast amounts of time and money, reflect the finest attributes of a

private attorney general.” Beesley v. Int’l Paper Co., No. 06-703-DRH, 2014 U.S.Dist.LEXIS

12037, 8 (S.D. Ill. Jan. 31, 2014).

    21. In Will v. General Dynamics, another ERISA excessive fee case that settled for $16.5

million plus significant affirmative relief after four years of litigation, U.S. District Judge Patrick

Murphy found that litigating the case and achieving a successful result for the class “required

Class Counsel to be of the highest caliber and committed to the interests of the participants and

beneficiaries of the General Dynamics 401(k) Plans.” Will v. General Dynamics Corp., No. 06-

698-GPM, 2010 U.S.Dist.LEXIS 123349, at *9 (S.D. Ill. Nov. 22, 2010).

    22. In connection with approving a settlement reached after six plus years of litigation that

included a monetary recovery of $35 million and “powerful affirmative relief” in the form of

“market-priced recordkeeping services, state-of-the-art fee and expense disclosures to

participants; and other steps to control investment expenses,” U.S. District Judge Harold Baker

stated that Schlichter, Bogard & Denton is the “preeminent firm in 401(k) fee litigation” and has




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“persevered in the face of the enormous risks of representing employees and retirees in this

area.” Nolte v. Cigna Corp., No. 07-2046, Doc. 413 at 1, 5 (C.D.Ill. Oct. 15, 2013).

    23. In Abbott v. Lockheed Martin Corp., which resulted, after eight plus years of litigation,

in a settlement that included $62 million in monetary relief as well as substantial affirmative

relief, Chief Judge Michael J. Reagan observed that “Mr. Schlichter and the firm of Schlichter,

Bogard & Denton have demonstrated its well-earned reputation as a pioneer and the leader in the

field” of 401(k) plan excessive fee litigation. Abbott v. Lockheed Martin Corp., No. 06-701, 2015

U.S.Dist.LEXIS 93206, 4–5 (S.D. Ill. July 17, 2015).

    24. In awarding attorney fees after the month-long trial in Tussey v. ABB, Inc., supra, Judge

Nanette Laughrey found that “Plaintiffs’ attorneys are clearly experts in ERISA litigation.” 2012

U.S.Dist.LEXIS 157428 at 10. On remand from the Eighth Circuit, Judge Laughrey further

found that as a result of Plaintiffs’ counsel pursuing the case, the litigation had “clarified ERISA

standards in the context of investment fees” and “educated plan administrators, the Department

of Labor, the courts and retirement plan participants about the importance of monitoring

recordkeeping fees and separating a fiduciary’s corporate interest from its fiduciary obligations.

Tussey v. ABB, Inc., No. 06-4305, 2015 U.S.Dist.LEXIS 164818, 7–8 (W.D.Mo. Dec. 9, 2015).

    25. Recently, in approving a settlement including $32 million plus significant affirmative

relief, Chief Judge William Osteen in Kruger v. Novant Health, Inc., No. 14-208, Doc. 61, at 7–8

(M.D.N.C. Sept. 29, 2016) found that “Class Counsel’s efforts have not only resulted in a

significant monetary award to the class but have also brought improvement to the manner in

which the Plans are operated and managed which will result in participants and retirees receiving

significant savings[.]”




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     26. In addition to ERISA class actions, I and my firm have handled many other class action

cases. Examples of other class actions I have successfully handled include: Brown v. Terminal

Railroad Association, a race discrimination case in the Southern District of Illinois on behalf of

all African-American and Hispanic employees at a railroad; Mister v. Illinois Central Gulf

Railroad, 832 F.2d 1427 (7th Cir. 1987), a failure-to-hire class action brought on behalf of

hundreds of African-American applicants from East St. Louis, Illinois at a major railroad which

was tried to conclusion and successfully appealed to the Seventh Circuit Court of Appeals and

finally concluded with more than $10 million for the class after 12-and-a-half years of litigation;

Wilfong v. Rent-A-Center, No. 00-680-DRH (S.D. Ill. 2002), a nationwide gender discrimination

in employment case on behalf of women, which was successfully settled for $47 million and

substantial affirmative relief to the class of thousands, after defeating the defendant’s attempt to

conduct a reverse auction.

     27. My work in plaintiffs’ employment discrimination class action cases has been noted by

federal judges. U.S. District Judge James Foreman, in the Mister case, supra, speaking of my

efforts, stated:

                   “This Court is unaware of any comparable achievement of public good by a
                   private lawyer in the face of such obstacles and enormous demand of resources
                   and finance.”

Order on Attorney’s Fees, Mister v. Illinois Central Gulf R.R., No. 81-3006 (S.D. Ill. 1993).

     28. District Judge David R. Herndon wrote, regarding my and the firm’s handling of the

Wilfong class action, supra:

                   Class counsel has appeared in this court and has been known to this Court for
                   approximately 20 years. This Court finds that Mr. Schlichter’s experience,
                   reputation and ability are of the highest caliber. Mr. Schlichter is known well to
                   the District Court Judge and this Court agrees with Judge Foreman’s review of
                   Mr. Schlichter’s experience, reputation and ability.



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Order on Attorney’s Fees, Wilfong v. Rent-A-Center, No. 0068-DRH (S.D. Ill. 2002). Judge

Herndon also noted in Wilfong that I “performed the role of a ‘private attorney general’

contemplated under the common fund doctrine, a role viewed with great favor in this Court” and

described my action as “an example of advocacy at its highest and noblest purpose.” Id.

    29. In the decades of my private practice, I have never been reprimanded, sanctioned or

otherwise disciplined with respect to any aspect of the practice of law.

    30. Attached hereto as Exhibit A is a true and correct copy of Schlichter, Bogard and

Denton, LLP’s firm resume.

    I declare, under penalty of perjury, that the foregoing is true and correct to the best of my

knowledge and that this declaration was executed this 15th day of January, 2019, in St. Louis,

Missouri.

                                                 /s/ Jerome J. Schlichter
                                                 Jerome J. Schlichter




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        SCHLICHTER BOGARD & DENTON
               SELECTED ATTORNEYS BIOGRAPHY
Schlichter Bogard & Denton is a plaintiffs’ law firm which represents individuals in
personal injury actions, class actions and complex litigation involving pension
claims, breaches of fiduciary duties, product liability, and pharmaceutical products.
The following is biographical information on selected attorneys in the firm.


JEROME J. SCHLICHTER

Jerome J. Schlichter received his Bachelor’s degree in Business Administration
from the University of Illinois in 1969, with honors and was a James Scholar. Mr.
Schlichter received his Juris Doctorate from the University of California at Los
Angeles Law School in 1972, where he was an Associate Editor of UCLA Law
Review. Mr. Schlichter is a member of the bar of California, Illinois, and Missouri,
and is admitted to practice before the Supreme Court of the United States and
numerous federal courts. He has also been an Adjunct Professor teaching a trial
class at Washington University Law School.

During his career, Mr. Schlichter has handled on behalf of plaintiffs many
substantial personal injury cases, consumer cases, toxic tort cases, and numerous
complex, multi-plaintiff cases including mass tort cases and numerous ERISA
breach of fiduciary national class actions. He has also held offices in national
plaintiffs’ lawyer groups. For each year since 2007, he has been listed among the
100 most influential persons nationally in the 401(k) industry in the industry
publication 401(k) Wire; he was listed as 3rd most influential in 2007, and 4th most
influential in 2015.

Mr. Schlichter is lead attorney on numerous national class action cases involving
claims on behalf of employees and retirees of excessive fees and fiduciary breaches
in large 401(k) plans. He and the firm are widely acknowledged to have pioneered
the area of 401(k) excessive fee litigation and have obtained settlements in ten of
those cases. In the case of Martin v. Caterpillar a settlement was obtained for the
sum of $16,500,000 plus significant changes in the 401(k) plan. In Will v. General
Dynamics, a settlement has been reached in the sum of $15.15 million plus
additional non-monetary relief. In Kanawi v. Bechtel, the settlement obtained
included $18.5 million as well as additional affirmative relief. In Beesley v.
International Paper, a settlement was reached for the sum of $30 Million, as well as
significant affirmative relief. In George v. Kraft Foods, a settlement was reached for
$9.5 Million plus non-monetary relief. In Nolte v. Cigna, a settlement was reached
for $35 Million plus significant changes in the plan to benefit participants. In

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Krueger v. Ameriprise, a settlement was reached for $27.5 Million, and substantial
additional changes to the plan. Abbott v. Lockheed Martin produced a settlement of
$62 million, the largest sum recovered in a 401k excessive fee case in history, plus
significant non-monetary relief. Spano v. Boeing Co., resulted in a $57 million
settlement on behalf of participants in Boeing’s 401(k) plan, including significant
non-monetary relief. Kruger v. Novant Health, Inc., a $32 million settlement was
reached on behalf of 401(k) plan participants, together with substantial affirmative
non-monetary relief. Gordan v. Mass Mutual Life Inss., Co., a settlement was
reached for $30.9 Million with plus additional non-monetary relief.

Mr. Schlichter was the lead attorney for plaintiffs in Tussey v. ABB, Inc., the first
full trial for excessive fees in a 401(k) plan, which resulted in a multi-million dollar
judgment for participants in ABB’s 401(k) Plan, plus substantial reform to the 401k
plan.

Mr. Schlichter is also lead attorney in Tibble v. Edison, in which he and his firm
represent participants in the 401(k) plan of Edison International. In that case, the
U.S. Solicitor General, AARP and other organizations supported his firm’s position
that the case was one of critical importance to all 401(k) participants. In May of
2015, the Supreme Court ruled, unanimously, in favor of the participants in the
plan.

Examples of other class cases handled by Mr. Schlichter include: Brown v.
Terminal Railroad Association, a discrimination case on behalf of African American
and Hispanic workers, which was certified as a class, and concluded with a multi-
million dollar settlement after more than 5 years of litigation; Mister v. Illinois
Central Gulf Railroad, 832 F.2d 1427 (7th Cir. 1987), a failure-to-hire suit brought
on behalf of hundreds of African-Americans applicants, which was certified, tried
and successfully appealed to conclusion and finally settled for more than $10 million
after 12 ½ years of litigation, and Wilfong v. Rent-A-Center, No. 00-680-DRH (S.D.
Ill. 2002), a nationwide gender discrimination case on behalf of women employees
and applicants, which was successfully settled for $47 million and other relief to the
class, after defeating the defendant’s attempt to conduct a reverse auction.

Mr. Schlichter has been praised by numerous Federal Judges, retirement plan
groups and national experts for his firm’s work.

       The AARP Foundation commented that Mr. Schlichter’s work in the Bechtel
        401(k) fee case was “… truly extraordinary.”
       In Beesley v. International Paper, an ERISA excessive fee case, U.S. District
        Judge David Herndon observed: “Litigating this case against formidable
        defendants and their sophisticated attorneys required Class Counsel to
        demonstrate extraordinary skill and determination. Schlichter, Bogard &
        Denton and lead attorney Jerome Schlichter’s diligence and perseverance,

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     while risking vast amounts of time and money, reflect the finest attributes of
     a private attorney general.” Beesley v. Int’l Paper Co., No. 06-703-DRH, 2014
     U.S. Dist. LEXIS 12037, 8 (S.D. Ill. Jan. 31, 2014).
    In Will v. General Dynamics, another ERISA excessive fee case, U.S. District
     Judge Patrick Murphy found that litigating the case and achieving a
     successful result for the class “required Class Counsel to be of the highest
     caliber and committed to the interests of the participants and beneficiaries of
     the General Dynamics 401(k) Plans.” Will v. General Dynamics Corp., No. 06-
     698-GPM, 2010 U.S. Dist. LEXIS 123349, 9 (S.D. Ill. Nov. 22, 2010).
    U.S. District Judge Harold Baker, in Nolte v. Cigna, stated that Schlichter,
     Bogard & Denton is the “preeminent firm in 401(k) fee litigation” and has
     “persevered in the face of the enormous risks of representing employees and
     retirees in this area.” Nolte v. Cigna Corp., Case No. 07-2046, Doc. 413 at 5
     (C.D.Ill. Oct. 15, 2013).
    Chief U.S. District Judge Michael J. Reagan observed that “Mr. Schlichter
     and the firm of Schlichter, Bogard & Denton have demonstrated its well-
     earned reputation as a pioneer and the leader in the field” of 401(k) plan
     excessive fee litigation. He added: “Schlichter, Bogard & Denton’s work
     embodies the finest attributes of a private attorney general, risking
     significant resources for the good of those saving for their retirement.” Abbott
     v. Lockheed Martin Corp., No. 06-701, 2015 U.S. Dist. LEXIS 93206, at 4–5
     (S.D. Ill. July 17, 2015). Similar remarks were given by U S. District Judge
     Nancy J. Rosenstengel in Spano v. Boeing Co. noting that for over nine years,
     Jerome Schlichter and Schlichter, Bogard & Denton have “zealously
     represented American workers and retirees seeking to improve their retirement
     plan”. Spano v. Boeing Co., Case No. 06-743, Doc. 587 at 2 (S.D.Ill. Mar. 31,
     2015).
    In Tussey v. ABB, Inc., U.S. District Judge Nanette K. Laughrey emphasized
     he significant contribution Schlichter, Bogard & Denton has made to ERISA
     litigation, including educating the Department of Labor and courts about the
     importance of monitoring fees in 401(k) plans.

           Of special importance is the significant, national contribution
           made by the Plaintiffs whose litigation clarified ERISA
           standards in the context of investment fees. The litigation
           educated plan administrators, the Department of Labor, the
           courts and retirement plan participants about the importance of
           monitoring recordkeeping fees and separating a fiduciary’s
           corporate interest from its fiduciary obligations.

     Tussey v. ABB, Inc., 2015 U.S.Dist.LEXIS 164818 at 7–8 (W.D.Mo. Dec. 9,
     2015).
    In Gordan v. Mass Mutual Life Ins., Co., U.S. District Judge Michael Ponsor
     found that by securing a $30.9 million settlement, Schlichter, Bogard &
     Denton had achieved an “outstanding result for the class,” and “demonstrated


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      extraordinary resourcefulness, skill, efficiency and determination.” Gordan v.
      Mass Mutual Life Ins., Co., No. 14-30184, Doc. 144 at 5 (D. Mass. November 3, 2016).

Widely cited ERISA experts have expressed their opinions that the 401(k) fee cases
brought by Mr. Schlichter directly contributed to the development of the U.S.
Department of Labor’s regulatory initiatives to improve fee transparency. In total,
Schlichter and his firm have been named Class Counsel in fifteen national class
actions alleging fiduciary breaches and prohibited transactions involving the 401(k)
plans of large companies.

Mr. Schlichter has also spoken on Employee Retirement Income Security Act
(“ERISA”) litigation breach of fiduciary duty claims at national ERISA seminars as
well as other national bar seminars. Mr. Schlichter has been widely featured and
quoted in articles concerning 401(k) fees, appearing in such national publications as
the New York Times, Wall Street Journal, USA Today, Bloomberg, Business Week,
Reuters, Forbes, Consumer Reports, and the Los Angeles Times.

Mr. Schlichter has been called a “pioneer” in litigation involving excessive fee
claims under ERISA by the New York Times (October 16, 2014); “A Lone Ranger of
the 401(k)’s” by the New York Times (March 29, 2104); “Public Enemy No. 1 for
401(k) Profiteers” by Investment News (January 26, 2014); “Who Needs Fee
Disclosure When You Have Jerry Schlichter” in Fiduciary News (April 7, 2015); “His
Impact has been humongous” in reducing 401(k) fees in Reuters (November 5,
2013).

ROGER C. DENTON

Roger C. Denton earned his Bachelor of Art degree from Culver Stockton College in
1978, and his Juris Doctorate from Saint Louis University School of Law in 1982,
where he graduated summa cum laude and Order of Woolsack. He is a member of
the bar of Illinois, Missouri and Wisconsin, and is admitted to practice before the
United States Supreme Court. Mr. Denton is also admitted to the United States
District Courts for the Southern, Central and Northern Districts of Illinois, the
Eastern and Western Districts of Wisconsin, and the Eastern and Western Districts
of Missouri.

Mr. Denton has spent his career representing seriously injured individuals and in
mass tort claims for work related injuries, and injuries resulting from the use of
dangerous products and defective pharmaceutical drugs. He has litigated cases in
more than a dozen states, both in state and federal courts, and has a national
reputation in the field of FELA litigation with substantial verdicts in multiple
jurisdictions. In addition to handling his individual cases and medical monitoring
class actions, Mr. Denton is currently serves as co-lead counsel in multiple national
multi district litigation cases, including In re: Pradaxa Products Liability Litigation,

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Liaison Counsel in In re Yasmin® and Yaz ® (Drospirenone) Marketing, Sales
Practices and Products Liability Litigation, lead counsel in In re NuvaRing®
Products Liability Litigation. In addition, he has served on national steering
committees in In re Gadolinium-Based Contrast Agents Product Liability Litigation
and In re E.I. Du Pont De Nemours and Company C-8 Personal Injury
Litigation. Mr. Denton has spoken at national seminars and published articles on
mass torts and complex litigation.

NELSON G. WOLFF

Mr. Wolff is a partner in the firm and received his Bachelor of Arts degree in
Biology from Emory University in 1988 and his Juris Doctorate from the University
of Missouri in 1992. He was a member of the Missouri Law Review and a two-time
winner of the National Moot Court Prize for Appellate Advocacy.

He is a member of the bar of Missouri, Illinois, and Arkansas. Mr. Wolff is
admitted to practice before the United States Supreme Court, the United States
Court of Appeals for the Fifth, Seventh, Eighth, and Tenth Circuits, in the United
States District Courts for the Central, Southern, and Northern Districts of Illinois,
Eastern District of Missouri, Western District of Kentucky, and the Eastern and
Western Districts of Arkansas.

Mr. Wolff currently serves on the Board of Governors of the Missouri Association of
Trial Attorneys. He has been selected as a Missouri and Kansas "Super Lawyer"
each year since 2005 and has been repeatedly selected for inclusion in The Best
Lawyers in America. Mr. Wolff has also had articles published in numerous legal
and scientific journals on personal injury subjects and has presented at numerous
legal seminars.

In addition, Mr. Wolff has been involved in multiple national class action ERISA
cases involving challenges to 401(k) plan fees and expenses and breaches of
fiduciary duty. He conducted the trial of Tibble v. Edison, a 401k excessive fee case
in the Central District of California, a case in which the firm of Schlichter, Bogard
& Denton obtained a writ of certiorari in the U.S. Supreme Court, and, in 2015, a
unanimous favorable ruling in the U.S. Supreme Court.

KRISTINE K. KRAFT

Kristine K. Kraft is a partner of the firm. She received her Juris Doctorate from the
University of Missouri-Kansas City in 1990, graduating with distinction and the
honor of the Order of the Bench and Robe. She graduated cum laude from Avila
College in 1983 with a Bachelor of Arts degree. She specializes in litigating highly
complex pharmaceutical cases, mass tort, and complex litigation cases.


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She has represented clients throughout the United States, and is a member of the
bar of Missouri, Kansas, and Illinois, as well as in numerous Federal courts.

She serves on the Board of Governors for the Missouri Association of Trial
Attorneys, and has also been selected for inclusion in the “Honors Edition” of the
Cambridge “Who’s Who Among Executive and Professional Women”.

Additionally, Ms. Kraft has been appointed to serve as co-lead counsel and liaison
counsel of In Re NuvaRing® Products Liability Litigation, a Multi-District
Litigation which resulted in a substantial settlement in the U. S. District Court for
the Eastern District of Missouri. She also serves on the Science and Discovery
Committees for the Multi-District Litigation matters: In re Yasmin® and Yaz®
(Drospirenone) Marketing, Sales Practices and Products Liability Litigation, In re
Ortho Evra® Products Liability Litigation and In re Gadolinium-Based Contrast
Agents Product Liability Litigation.

Ms. Kraft is and has been involved in complex litigation, mass torts, and multi-
district litigation.

MICHAEL A. WOLFF

Michael A Wolff is Counsel in the firm. He received his Juris Doctor cum laude
from the University Of Missouri-Columbia in 1990, where he was initiated into the
Order of the Coif. He received his Bachelor of Arts magna cum laude from Colgate
University in 1987, where he was initiated into Phi Beta Kappa. He has extensive
experience in Federal and State appellate and trial practice, as well as fiduciary
litigation, complex commercial litigation, and 401k excessive fee cases.

Mr. Wolff is a member of the bar of Missouri (1990) and Illinois (1991) and is
admitted to practice before the Supreme Court of the United States and many
federal courts. Mr. Wolff has successfully briefed and argued numerous dispositive
motions and federal appeals in 401k excessive fee litigation.

Mr. Wolff is and has been involved in numerous complex, national ERISA class
actions involving 401(k) plans of large employers, including numerous cases
resulting in multi-million dollar settlements and substantial non-monetary
improvements to the 401k plans.

TROY A. DOLES

Troy Doles is Counsel in the firm, and received his Bachelor’s degree from Indiana
University in 1992 and his Juris Doctorate from St. Louis University School of Law
in 1996. He is a member of the bar of Missouri and Illinois and is admitted to


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practice before the Supreme Court of the United States and numerous federal
courts.

Mr. Doles has extensive experience in complex class action cases and complex
commercial litigation, including Federal Court and Multi-District Litigation cases.
He has been deeply involved in numerous class actions on behalf of retirement plan
participants, consumers, and health care providers. Mr. Doles has lectured
frequently to a variety of associations and conferences including fiduciary groups,
national and state medical associations, and bar associations.

Mr. Doles was a member of the trial team in Tussey v. A.B.B., a month-long trial
which was the first and is the only full trial of a 401k excessive fee case in history,
and which resulted in a favorable multi-million dollar judgment for plaintiffs.

Mr. Doles is and has been involved in numerous complex, national ERISA class
actions involving 401(k) plans of large employers, including numerous cases
resulting in multi-million dollar settlements and substantial non-monetary
improvements to the 401k plans.

HEATHER LEA

Heather Lea is Counsel in the firm. She graduated with a Bachelor of Arts degree
from Rhodes College in 1994 and with a Juris Doctorate degree from Washington
University School of Law in 2000, where she was Order of the Coif, and the Editor-
in-Chief of the Washington University Journal of Law and Policy. Ms. Lea is a
member of the bar of Illinois and Missouri, and is admitted to practice before the
Supreme Court of the United States and numerous federal courts.

Ms. Lea was a judicial law clerk to the Honorable Jeanne E. Scott, United States
District Court for the Central District of Illinois and has specialized in ERISA and
pension plan litigation for her entire career. She is currently involved in litigating
class actions under ERISA for claims of fiduciary breaches involving plans of large
employers.

Ms. Lea was a member of the trial team in Tussey v. A.B.B., a month-long trial
which was the first and is the only full trial of a 401k excessive fee case in history,
and which resulted in a favorable multi-million dollar judgment for plaintiffs.

Ms. Lea is and has been involved in numerous complex, national ERISA class
actions involving 401(k) plans of large employers, including numerous cases
resulting in multi-million dollar settlements and substantial non-monetary
improvements to the 401k plans.




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ANDREW D. SCHLICHTER

Andrew Schlichter graduated with a Bachelor of Arts Degree from Georgetown
University cum laude in 2002 and from the University of Michigan Law School cum
laude in 2005, where he was Executive Editor of the Michigan Law Review and
received the Jason H. Honigman award. He is a member of the bars of New York
and Missouri, and is admitted to practice before the Supreme Court of the United
States and numerous federal courts. From 2005 to 2006, he served as a law clerk to
U.S. District Judge David R. Herndon in East St. Louis, Illinois. Prior to joining
Schlichter, Bogard & Denton, LLP, Mr. Schlichter worked for a large New York City
law firm where he practiced complex commercial litigation.

Mr. Schlichter has extensive experience in high-stakes litigation. He has
represented numerous clients in federal and state securities actions, and has
obtained successful results in a broad range of complex matters, including dismissal
with prejudice of a $147 million action asserted in connection with a debt
refinancing and dismissal of several significant claims related to a corporate
merger. He has also represented clients in regulatory matters and investigations,
including investigations related to the collapse of an investment bank's sponsored
hedge funds, off-label promotion at a major pharmaceutical company, and a utility's
response to Hurricane Sandy.

In his pro bono practice, he has served as Counsel to the New York Chief Judge's
Special Commission on the Future of the New York State Courts and in 2013
received a Pro Bono Publico Award from the Legal Aid Society.

Mr. Schlichter represents clients in complex litigation and personal injury
litigation. He is involved in complex national ERISA class actions involving 401k
plans of large employers, which have resulted in multi-million dollar settlements
and substantial non-monetary improvements to the 401(k) plans.

SEAN E. SOYARS

Mr. Soyars received his Bachelor of Arts from St. Mary’s College in 2000. He
received his Juris Doctorate in 2004 from Washington University School of Law. He
is a member of the bar of Missouri and is admitted to practice before numerous
federal courts.

He has extensive experience in appellate advocacy in representing participants in
large 401(k) plans, as well as extensive experience working on all aspects of
complex, national ERISA class actions involving 401(k) plans of large employers,
including numerous cases resulting in multi-million dollar settlements and
substantial non-monetary improvements to the 401(k) plans.


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KURT C. STRUCKHOFF

Kurt Struckhoff graduated with a Bachelor of Science degree in finance and
accounting from Saint Louis University in 2006, summa cum laude. He received his
Juris Doctorate from Saint Louis University School of Law in 2009. He is a member
of the bar of Missouri and Illinois and is admitted to practice before the Supreme
Court of the United States and numerous federal courts.

Mr. Struckhoff has been with the firm since 2009.

Mr. Struckhoff was a member of the trial team in Tussey v. A.B.B., a month-long
trial which was the first and is the only full trial of a 401k excessive fee case in
history, and which resulted in a favorable multi-million dollar judgment for
plaintiffs.

Mr. Struckhoff is and has been involved in numerous complex, national ERISA class
actions involving 401(k) plans of large employers, including numerous cases
resulting in multi-million dollar settlements and substantial non-monetary
improvements to the 401k plans.

He has worked extensively in complex litigation in areas including ERISA, pension
issues, securities fraud and fiduciary liability.

JOEL ROHLF

Joel Rohlf graduated with a Bachelor of Arts degree from the University of Iowa
with honors and highest distinction. He received his Juris Doctorate from the
University of Iowa, College of Law in 2008 with high distinction and order of the
coif. He is a member of the bars of Missouri, Illinois, and the District of Columbia
and is admitted to practice before several federal courts.

Joel has extensive experience representing clients in high stakes financial
litigation. He has successfully represented numerous clients in a broad range of
cases, including ERISA, securities, civil RICO, False Claims Act, consumer
protection and pharmaceutical matters.

He has also represented pro bono criminal defendants who cannot afford counsel,
and has handled cases for the American Civil Liberties Union and handled a case
for the National Association of Criminal Defense Lawyers before the United States
Supreme Court in Vermont v. Brillion, 556 U.S. 81 (2009).




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SCOTT APKING

Scott earned his B.A. from The Ohio State University, and an MBA from Webster
University. Scott graduated with honors from the University of Missouri School of
Law. During law school, Scott co-founded the school’s Veterans Clinic, which
represents low-income veterans in VA proceedings at all levels, including before the
U.S. Court of Appeals for Veterans’ Claims and Court of Appeals for Federal
Claims. Scott also served as Senior Associate Editor of the Missouri Law Review.

Prior to joining Schlichter, Bogard & Denton, LLP, Scott worked as a litigator for a
large law firm in St. Louis. Scott is a veteran of Operation Iraqi Freedom and
continues to serve in the United States Army Reserves as a Career Counselor
responsible for over 4,000 Soldiers.

Scott represents clients in complex litigation in federal and state courts throughout
the country. Scott has a broad range of experience representing clients in high
stakes financial litigation, FINRA, consumer protection, and environmental
matters.


ALEX BRAITBERG

Alex earned his B.A. from Cornell University, and his Juris Doctorate from Saint
Louis University, magna cum laude.

Alex has served on the Board of Governors of the Bar Association of Metropolitan
St. Louis since 2017, and is currently the Chair of the Continuing Legal Education
Committee.

Alex represents clients in complex high-stakes cases in courts around the country,
focusing his practice on Employee Retirement Income Security Act (ERISA) and
pension plan litigation. He has extensive experience in class actions, including
fiduciary breach, toxic exposure, product liability and consumer protection cases,
and has obtained substantial results for his clients in a broad range of matters.




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